Case 3:15-CV-06654-PGS-DEA Document 8-1 Filed 10/23/15 Page 1 of 4 Page|D: 25

lN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

CARLOS AMARO, : Civil Action
No. l5-cV-lO4OO
Plaintiff,
v.

VERDE ENERGY USA, INC.,

Defendant.

 

DEFENDANT VERDE ENERGY USA, INC.’S
()FFER ()F JUDGMENT

 

Defendant VERDE ENERGY USA, INC. (“Verde”) makes the following
offer of judgment pursuant to Fed. R. Civ. P. 681

l. CARLOS AMARO is the Plaintiff in this action and asserts claims for
the alleged violation of the Telephone Consumer Protection Aet (_“TCPA”).

2. Verde makes this offer more than fourteen (14) days prior to trial.

3. Verde hereby offers to allow entry of judgment against it in the amount

of five hundred and one dollars ($50l.00).

Case 3:15-cV-06654-PGS-DEA Document 8-1 Filed 10/23/15 Page 2 of 4 Page|D: 26

4. Verde agrees to comply With Plaintiff’s request for injunctive relief in
this action for Verde to cease and desist all calls by or on behalf of Verde to the
telephone number provided by the Plaintiff: (XXX) XXX - 90()7.

5 . Verde agrees to pay the Plaintiff` s 28 U.S.C. § 1920 costs accrued to
date in this action. Attorney fees are not recoverable under the TCPA. Thus, Verde
excludes attorney fees from its offer.

6. Verde’s offer is unconditional and is made to fully and finally resolve
all claims asserted against it in this action.

7. Verde’s offer of judgment Will remain open for fourteen (14) days after
service on Plaintiff’ s counsel.

8. lf Plaintiff does not accept this offer in Writing Within fourteen (14)
days after service, then Verde’s offer shall be deemed Withdravvn in accordance With
Fed. R. Civ. P. 68(b).

9. If Plaintiff does not accept this offer, he may become obligated to pay
Verde’s costs incurred after the making of this offer.

This offer of judgment is made for the purposes specified in Fed. R. Civ. P.
68, and shall not be construed as either an admission that Verde is liable in this
action, or that Plaintiff has suffered any damage(s). This offer of judgment is
intended to fully and finally resolve this action, including, Without limitation, any

and all claims for statutory damages, injunctive relief, and costs of litigation

Case 3:15-cV-06654-PGS-DEA Document 8-1 Filed 10/23/15 Page 3 of 4 Page|D: 27

Date: October 9, 2015

By: /s/ Jill R. Cohen
Jill R. Cohen (IRC - 3448)
jcohen@eckertseamans.com

Eckert Seamans Cherin & Mellott, LLC
P.O. BoX 5404

Princeton, NJ 08543

Phone: 609.989.5060

Attorneys for Verde Energy USA, lnc.

Case 3:15-cV-06654-PGS-DEA Document 8-1 Filed 10/23/15 Page 4 of 4 Page|D: 28

CERTIFICATE OF SERVICE

l certify that on this 9th day of October, 2015, l delivered a copy of the
foregoing DEFENDANT VERDE ENERGY USA, INC.’S OFFER OF
JUDGMENT upon the persons indicated below via email and via United States First-
Class mail, postage prepaid, which service satisfies the requirements of the F ederal

Rules of Civil Procedure.

Amy L. Bennecoff Ginsburg
Kimmel & Silverman, P.C.
1930 East Marlton Pil<e, Suite Q29
Cherry Hill, NJ 08003
abennecoff@creditlaw.com

/s/ Jill R. Cohen
J ill R. Cohen (JRC - 3448)

Dated: October 9, 2015

